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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF KENTUCKY
                               (LOUISVILLE DIVISION)

BRIAN PERCENTIE,                                )
                                                )
         Plaintiff                              )
                                                )
v.                                              )           Case No. 3:15-cv-00393-CRS
                                                )
NATIONAL CREDIT SYSTEMS, INC.,                  )
ET AL.                                          )
                                                )
         Defendants                             )

                                          ** ** ** **
                              AGREED ORDER OF DISMISSAL

         Upon agreement of the Plaintiff, Brian Percentie, and the Defendant, Experian

Information Solutions, Inc., each by counsel, and the Court being otherwise sufficiently advised;

         IT IS HEREBY ORDERED that Plaintiff’s claims asserted in this litigation against

Experian Information Solutions, Inc. are hereby DISMISSED WITH PREJUDICE, each party to

bear its own attorneys’ fees and costs.




TENDERED BY:                                        HAVE SEEN AND AGREED:

/s/David W. Hemminger                               /s/Jason Scott
David W. Hemminger                                  Jason Scott
LYNCH, COX, GILMAN & GOODMAN                        Regulatory Affairs, Compliance Expert
P.S.C.                                              Consumer Affairs Special Services
500 West Jefferson Street, Suite 2100               EXPERIAN INFORMATION SOLUTIONS,
Louisville, KY 40202                                INC.
(502) 589-4994                                      (214) 726 4056
dhemminger@lynchcox.com                             Jason.Scott@Experian.com
Counsel for Plaintiff
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on the 16th day of July, 2015 I electronically filed the foregoing with
the Clerk of the Court by using the CM/ECF system which will send a notice of electronic filing
to all parties of record.

                                              /s/David W. Hemminger
                                              David W. Hemminger
